Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 1 of 28 PageID 526




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION


   KATHERINE L. SMITH,

                       Plaintiff,

   v.                                              Case No. 3:05-cv-1253-J-32HTS

   AMERICA ONLINE, INC., etc., et al.,

                       Defendants.


                                            ORDER

   I.    BACKGROUND

         This is a case of alleged sexual harassment by a supervisor of his subordinate

   in the workplace. Katherine Smith filed a three count Amended Complaint against

   America Online, Inc. (“AOL”) and Chris Britton alleging: 1) Count I - sex discrimination

   against AOL pursuant to a theory of hostile work environment under Title VII of the

   Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq.; 2) Count II - the

   intentional tort of battery against Britton; and 3) Count III - negligent hiring, retention

   and supervision against AOL. AOL moves for summary judgment on Counts I and III.

   After briefing, the Court heard oral argument on April 17, 2007.

         A.     Katherine Smith’s Job at AOL

         Taking all evidence in the light most favorable to Smith, on June 13, 2003, AOL

   hired Smith as a Saves Consultant (“consultant”) in its Member Retention Department

   in the Jacksonville, Florida Call Center. (Doc. 50, Smith Dep., p. 12). The main
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 2 of 28 PageID 527




   function of a consultant is to receive calls from customers who wish to cancel their

   AOL memberships and to change their minds. (Smith Dep., pp. 80-82). On August

   11, 2003, Smith signed AOL’s Business and Personal Conduct policy. The policy

   provides, in pertinent part:

         If you commit any of the following actions, it will be considered grounds
         for immediate disciplinary action up to and including immediate
         termination of employment: ...15. Harassment of any kind, which is
         defined as derogatory comments, inappropriate gestures, offensive
         visual material or hostile behavior that another individual finds offensive.
         Discrimination on the basis of race, religion, national origin, age, sex,
         sexual orientation, disability or any other personal characteristic will not
         be tolerated within the AOL Community.

   (Smith Dep., pp. 67-69, Ex. 6). Smith understood that if she was the victim of sexual

   harassment and was either uncomfortable asking the harasser to stop, or, if after

   asking, the harasser did not relent, she was required to report it to her supervisor or

   the Human Resources Department. (Smith Dep., pp. 67-69, Ex. 6; Doc. 45, Conway

   Dep., Ex. 1).

         Smith worked as a consultant with AOL until April 2004, when AOL promoted

   her to the position of Consultant Support Specialist (“CSS”), a newly created position.

   In fact, about that time, AOL restructured its Member Retention Department using a

   new concept called Team Works. Under the Team Works model, a team consists of

   a Senior Coach, two Coaches, two or three CSSs and a number of consultants. A

   CSS monitors the performance of the consultants, a Coach monitors the manner in

   which a CSS oversees his or her group of consultants and the Coaches and CSSs

   report directly to the Senior Coach; the Senior Coach has direct supervisory authority

                                             -2-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 3 of 28 PageID 528




   over both the Coaches and the CSSs. The Senior Coach reports to a Sales Service

   Manager. (Doc. 42, Stephen McCann Dep., pp. 8-11).

         Smith worked as a CSS with fellow employees Patty Carter and Sue Hall. The

   Coaches on their team were Stephen McCann and Ashley Salinas. The Senior

   Coach was Britton, the alleged harasser. Britton’s Team Works team worked a shift

   of Saturday through Wednesday from 6:00 a.m. to 4:30 p.m. Team members worked

   eight hour shifts spanning that period; Smith’s typical work schedule was 7:15 a.m.

   to 4:15 p.m. (McCann Dep., pp. 8-11; Smith Dep., pp. 86-89). As a CSS, Smith

   interacted with the Coaches and Senior Coach on a daily basis to improve overall

   team performance. (Smith Dep., pp. 92-98).

         B.    Smith’s Interactions with Britton

         Britton made it a point to socialize with his team outside the office. The team

   (Senior Coach Britton, Coaches Ashley Salinas and Stephen McCann and CSSs

   Patty Carter and Katherine Smith) met at least four times after work to socialize in

   May and June of 2004. On three of the four occasions, they met at Dave & Busters,

   Sneakers Bar & Grill and Motoga’s Japanese Restaurant. Smith brought her partner,

   Raychael Harkey, to the outing at Motoga’s so that she could meet Smith’s co-

   workers. (Smith Dep., pp. 127-128). Britton did not act inappropriately during these

   outings. (Smith Dep., pp. 130-131). The fourth outing was to the Regency Theater

   to view the movie Spiderman. The management team invited the consultants to this

   outing. (Smith Dep., p. 129). After the movie, Britton approached Smith and Harkey

                                           -3-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 4 of 28 PageID 529




   and asked them if they wanted to go to the Ale House with the group. During this

   interaction, looking in the direction of both Smith and Harkey, Britton said “Damn, you

   clean up good.” (Smith Dep., p. 131; Doc. 43, Harkey Dep., pp. 55-56). Smith

   understood the comment was directed at her; however, Harkey perceived that Britton

   was speaking to her. (Smith Dep., p. 131; Harkey Dep., pp. 55-56).

           Smith described four other incidents involving Britton that occurred over the

   period of a month. First, on July 6, 2004, Britton walked by Smith’s desk while she

   was peeling an orange and told her that he would “like to eat those oranges off your

   body.” Smith replied, “That is so gross. Don’t talk to me like that.” (Smith Dep., pp.

   135-136, 155-156). Second, on July 24, 2004, Smith went into the copy room

   because Britton had asked her to copy some documents. While Smith was making

   the copies, she turned around and Britton was standing very close to her. Britton

   grabbed her belt loops and pulled her waist toward his waist. After Smith asked

   “What are you doing?,” Britton said “Give me a hug.” Smith then said “No, Chris” and

   placed her hand on his chest and pushed him away. (Smith Dep., pp. 136-138, 156-

   157).

           Third, on August 2, 2004, Britton invited Smith to a Ruby Tuesday restaurant

   after work. Smith understood that they would be discussing work. At the end of the

   work day, Smith and Britton departed for Ruby Tuesday; they drove separately.

   Smith arrived first and chose a table at the front of the restaurant near the hostess

   stand. Smith, who was apprehensive about the meeting, asked the server, Joshua

                                             -4-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 5 of 28 PageID 530




   Self, to come to the table once Britton arrived and to act like he knew her. Smith

   explained that she did that so if Britton thought Self knew her, Britton “would be less

   apt to do anything.” (Smith Dep., pp. 159-162, 165-187).

         When Britton arrived, Self played his role and then took their order. According

   to Smith, Britton started the conversation by saying “Katherine, I know that I’m not

   always professional with you,” to which Smith responded, “No, Chris, you’re not;”

   then, Britton proceeded to explain to Smith that he wished he could talk to his wife

   about having an “open marriage.” Smith testified that she continually tried to bring the

   conversation back to work; she knew Britton’s team was performing poorly. While

   Britton did discuss his frustration with his team, he apparently kept making comments

   about wanting to have an open marriage. (Id.).

         After approximately twenty or thirty minutes, Britton told Smith that he had to

   go pick up his kids and they proceeded together to the parking lot. Smith testified that

   as she unlocked her car door and attempted to get in her car, Britton grabbed her arm

   and attempted to hug her. Smith placed her arms in a defensive position and asked

   “What are you doing?” Britton responded “Just give me a hug,” to which Smith

   responded “No.” Then, Britton said, “Well, give me a kiss then.” Smith began moving

   her head side to side to avoid a kiss and explained that Britton ended up kissing the

   side of her face. (Id.).

         When Britton and Smith exited the restaurant, the waiter (Joshua Self) was

   standing by the hostess stand at the front of the restaurant and saw Smith getting into

                                             -5-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 6 of 28 PageID 531




   her car. Self testified that it appeared to him that Smith and Britton were standing

   close to each other on the inside of the open front driver side door and that Smith was

   “trying to get in the car.” Viewing Self’s affidavit and deposition testimony in concert

   illustrates that he is not clear as to what he saw next. (Doc. 49, Self Dep., pp. 21-44,

   Ex. 1). However, when AOL’s counsel asked “When the gentleman (Britton) and Ms.

   Smith were at the car, you didn’t see him actually kiss her, is that correct?,” Self

   responded “No. No.” (Self Dep., pp. 44). In addition, after Self saw Smith and Britton

   standing inside the driver side door of Smith’s car, Self exited the front doors of the

   restaurant to wave good-bye to Smith. Once he was outside, Britton was walking

   away from Smith’s car and Smith was inside her car preparing to drive away. (Self

   Dep., pp. 21-44).

         Smith left the parking lot and drove back toward AOL. When Smith reached a

   stop light near AOL, Britton pulled up next to her and said he no longer had to pick up

   his kids from day care and that he had more time to “hang out.” Smith declined.

   Britton and Smith drove their separate ways. (Smith Dep., pp. 186-187).

         The following morning (August 3, 2004), Smith went to work and attended a

   scheduled meeting. After the meeting, Smith approached Ashley Salinas (a Coach

   on Chris Britton’s team) and told him what had occurred at Ruby Tuesday the day

   before. (Smith Dep., pp. 191-192). Salinas advised Smith that she needed to inform

   AOL’s Human Resources Department immediately. Smith responded that (1) she




                                             -6-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 7 of 28 PageID 532




   was not inclined to go to HR and would just rather wait until the next shift bid1 to move

   off of Britton’s team, and (2) she did not want to make a big issue of it and just wanted

   the whole issue to “go away.” (Id.).

          After Smith concluded her conversation with Salinas, she went to Britton’s office

   to discuss a work-related issue. This is when the fourth incident occurred. Smith

   approached Britton’s desk and they proceeded to discuss work. Then, as Smith

   turned to walk away, Britton summoned her back and as she approached and bent

   down to hear what Britton was going to say, he looked down her blouse and said “I

   like your new position.” (Smith Dep., pp. 198-200). Smith immediately left Britton’s

   office. (Id.).

          C.        Human Resources Investigation

          Immediately after Smith’s conversation with Salinas, Salinas shared what Smith

   told him with his fellow Coach Stephen McCann. That same morning, Salinas and



      1
           Shift bids occur every six months at AOL under the Team Works model. From
   six month period to six month period, it is not guaranteed that the shift of Senior
   Coaches, Coaches and CSSs will remain the same. The shift bid process is designed
   presumably to provide incentives for good performance at all levels of Team Works
   so that employees at the various levels can achieve their desired work schedule in the
   twenty-four hour per day, seven days per week Jacksonville Call Center. Prior to the
   shift bid process, each Senior Coach, Coach and CSS is graded based on similar
   criteria and then ranked according to their grades. Then each Senior Coach, starting
   with the highest ranked Senior Coach, bids for a shift. Once all Senior Coaches bid,
   the Coaches bid according to their rank, starting with the highest rated Coach. Then,
   the CSSs go through the same process. The format works so that once it comes time
   for the CSSs to bid, they know who the Senior Coach and Coaches are for each shift
   and the time slots for each shift. (Doc. 37-3, Christopher Carr Aff.; Doc. 37-9, Jeremy
   Moore Aff.)

                                              -7-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 8 of 28 PageID 533




   McCann reported what Smith had told them to Human Resources Director Jenna

   Svela and HR employee Seth Conway. (McCann Dep., pp. 29-31; Doc. 51, Salinas

   Dep., pp. 30-33; Doc. 45, Svela Dep., pp. 67-68). After meeting with Salinas and

   McCann, Svela and Conway called Smith into Svela’s office and they all met for

   approximately thirty minutes. (Smith Dep., pp. 202). Smith told Svela and Conway

   about the Ruby Tuesday incident, Britton’s comment about the oranges and that

   Britton looked down her shirt earlier that day. (Smith Dep., pp. 202-203; Svela Dep.,

   pp. 72-73, Ex. 6). Smith did not mention the incident in the copy room or the

   comment Britton made at the movies. Further, it is undisputed that other than what

   Joshua Self witnessed at Ruby Tuesday, there were no witnesses to the incidents

   Smith mentioned to Svela.

         At the conclusion of Smith’s conversation with Svela and Conway, Svela

   proposed that Smith take the rest of the day off with pay so that she did not have to

   work with Britton during the remainder of the investigation; Smith went home. (Smith

   Dep., pp. 209-211; Svela Dep., p. 73). Svela then called Britton into her office.

         Britton denied that he had made any advances toward Smith or that Smith told

   him that he made her feel uncomfortable. Britton denied trying to kiss Smith outside

   of Ruby Tuesday, but admitted that he gave her a hug stating that it was customary

   for Smith to hug him and others on their team. (Svela Dep., p. 78-79; Doc. 47, Britton

   Dep., pp. 150-151). Britton admitted to telling Smith earlier that day “I like your new

   position,” but stated that Smith took his comment entirely out of context. Britton


                                             -8-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 9 of 28 PageID 534




   testified that even after asking Smith to come close to hear what he was going to say

   and admitting that she was wearing a V-neck top at the time, Britton’s comment was

   directed toward the incentive program she pitched to her team earlier that day and

   that she was being more assertive and helpful to the team, rather than remaining in

   the background.2 (Britton Dep., pp. 140-143).

         When Svela questioned Britton as to why he took Smith to Ruby Tuesday the

   previous day, Britton explained that they met there to discuss Smith’s poor

   performance, specifically that consultants were complaining to him that Smith refused

   to take escalation calls and that she did not give them constructive feedback. Britton

   further explained that he determined an “off site” meeting was appropriate because

   in the past when he had approached Smith at work about her performance problems,

   she would become emotional; thus, Britton thought it would be best if he counseled

   her somewhere away from the office. (Britton Dep., pp. 121-125, 143-145; Svela

   Dep., pp. 78-79).

         After interviewing both Smith and Britton, Svela determined that this situation

   was entirely “he said/ she said.” Following consultations with other management

   personnel, Svela decided that she could not reprimand (other than a verbal warning)




     2
         Britton testified that when he said “I like your new position” to Smith, Smith gave
   him “a look,” and he immediately exclaimed that he did not mean the comment in a
   sexual manner. (Britton Dep., p. 140, 143). Smith did not recall Britton offering any
   explanation after making the comment. (Smith Dep., p. 199).

                                             -9-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 10 of 28 PageID 535




    or terminate Britton.3 (Svela Dep., pp. 107-109; Britton Dep., p. 148). Svela did not

    contact Joshua Self as Smith never told her that Self may have witnessed any illicit

    behavior. Further, Smith never presented Svela with any witnesses to any of Britton’s

    alleged harassing conduct. (Svela Dep., pp. 95-96).

           When Svela concluded the investigation and determined the available CSS

    positions on other teams, she approached Smith with five options: 1) a CSS position

    on the 8:30 a.m. - 5:30 p.m. (Monday - Friday) shift on Ty Boler’s team; 2) a CSS

    position on the 2:00 p.m. - 11:00 p.m. (Saturday - Wednesday) shift on Paul Brady’s

    team; 3) a CSS position on the 12:00 p.m. - 9:00 p.m. (Monday - Friday) shift on

    Stacia Smith’s team; 4) remain on Chris Britton’s team and keep the same hours; or

    (5) return to working as a consultant on any team while keeping the same pay and

    benefits as a CSS.      Smith informed Svela that none of those options were

    “acceptable” to her (primarily because the changed schedules conflicted with her child

    care concerns). Later, Svela informed Smith that in the interim she learned that the

    available CSS hours on Ty Boler’s team were now 10:00 a.m. to 7:00 p.m. (Monday -

    Friday). After accepting the revised hours on Ty Boler’s team among the available

    options, Smith told Svela that she would be at work the following Monday at 10:00

    a.m. Instead, Smith arrived that Monday and tendered a letter of resignation to Svela.

    (Svela Dep., pp. 97-102; Smith Dep., 214-216, 223, Ex. 10).


       3
           Svela verbally warned Britton that if she ever heard of any such complaints
    again that he would be reprimanded up to and including termination. (Svela Dep., pp.
    102-103, 107-09; Britton Dep., p. 148).

                                            -10-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 11 of 28 PageID 536




          D.     Prior Incidents

          There are two other incidents Smith brings to the Court’s attention. Both

    occurred before Smith began working for AOL. The first pertains to an unidentified

    female employee who informed former Human Resources Manager Dan Martella that

    Britton had asked her out on a date. (Doc. 37-8, Martella Aff.). The employee did not

    claim Britton was harassing her; she merely sought counsel about how to

    appropriately inform Britton she was not interested. After Martella counseled the

    employee to tell Britton she was not interested in anything other than a professional

    relationship, the employee made no further complaints concerning Britton. At no point

    did the employee tell Martella she felt Britton was harassing her. (Id.).

          The second incident involves former AOL employee Angela Walker. Walker

    testified that Britton gave her compliments on her appearance and asked her out on

    several occasions. Walker informed Jeff Martin, her supervisor and a Manager in

    Human Resources, of this. Walker testified, however, that Britton never harassed her,

    nor was he even “pushy.” Walker ultimately informed Britton in an instant message

    that she wanted to keep their relationship on a professional level, and, after that

    conversation, Britton never asked her out again. Walker did not request Martin to

    speak with Britton, and she did not expect him to do so. (Doc. 54, Walker Dep., pp.

    7-14, 27).




                                             -11-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 12 of 28 PageID 537




    II.    APPLICABLE STANDARDS

           Summary judgment is proper where “there is no genuine issue as to any

    material fact” and “the moving party is entitled to judgment as a matter of law.”

    Fed.R.Civ.P. 56(c). “The burden of demonstrating the satisfaction of this standard lies

    with the movant, who must present pleadings, depositions, answers to interrogatories,

    and admissions on file, together with the affidavits, if any, that establish the absence

    of any genuine material, factual dispute.” Branche v. Airtran Airways, Inc., 342 F.3d

    1248, 1252-53 (11th Cir. 2003) (internal quotations omitted). An issue is genuine

    when the evidence is such that a reasonable jury could return a verdict for the

    nonmovant. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249-250 (1986). In

    determining whether summary judgment is appropriate, a court must draw inferences

    from the evidence in the light most favorable to the nonmovant and resolve all

    reasonable doubts in that party's favor. Centurion Air Cargo, Inc. v. United Parcel

    Serv. Co., 420 F.3d 1146, 1149 (11th Cir. 2005).

    III.   DISCUSSION

           A.    Hostile Work Environment Sexual Harassment (Count I)

           Sexual harassment is a form of sex discrimination prohibited by Title VII. Gupta

    v. Florida Board of Regents, 212 F.3d 571, 582 (11th Cir. 2000) (citing Meritor

    Savings Bank, FSB v. Vinson, 477 U.S. 57, 64 (1986)).               Actionable sexual

    harassment occurs when inappropriate sexual conduct causes a hostile work

    environment that is sufficiently severe or pervasive to alter the terms and conditions


                                             -12-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 13 of 28 PageID 538




    of work. Hulsey v. Pride Rests., LLC, 367 F.3d 1238, 1245 (11th Cir. 2004).

           Under Title VII, to support a hostile work environment claim against an

    employer, a plaintiff must establish that: (1) she belongs to a protected group; (2) she

    has been subject to unwelcome sexual harassment, such as sexual advances,

    requests for sexual favors or other conduct of a sexual nature; (3) the harassment

    was based on the sex of the employee; (4) the harassment was sufficiently severe or

    pervasive to alter the terms and conditions of employment and create an abusive

    working environment; and (5) a basis for holding the employer liable. Mendoza v.

    Borden, Inc., 195 F.3d 1238, 1245 (11th Cir. 1999) (en banc).

                 1.     Whether Britton’s conduct was severe or pervasive

           At issue here is whether the alleged harassment was sufficiently severe or

    pervasive to constitute actionable sexual harassment and whether there is a basis to

    hold AOL liable for Britton’s actions.4 In Gupta, the Eleventh Circuit noted that the

    “severe or pervasive” analysis “is the element that tests the mettle of most sexual

    harassment claims. Requiring the plaintiff to prove that the harassment is severe or

    pervasive ensures that Title VII does not become a mere ‘general civility code.’” 212

    F.3d at 583 (quoting Faragher v. City of Boca Raton, 424 U.S. 775, 788 (1998)).

    Thus, “a plaintiff must establish not only that she subjectively perceived the



       4
             Importantly, this motion does not raise the issue of Britton’s own personal
    liability. Britton did not move for summary judgment as to the Count II battery claim
    against him.

                                             -13-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 14 of 28 PageID 539




    environment as hostile and abusive, but also that a reasonable person would perceive

    the environment to be hostile and abusive.” Gupta, 212 F.3d at 583 (citations

    omitted).

          There is no dispute that Katherine Smith subjectively perceived her work

    environment with Chris Britton as hostile and abusive. The critical inquiry therefore

    is whether, from an objective viewpoint, the alleged sexual harassment was so

    frequent, severe or pervasive so as to constitute actionable sexual harassment. See

    id. There are four factors the Eleventh Circuit considers to determine if comments or

    actions of a sexual nature are sufficiently severe or pervasive to alter an employee’s

    terms and conditions of employment: “(1) the frequency of the conduct; (2) the

    severity of the conduct; (3) whether the conduct is physically threatening or

    humiliating, or a mere offensive utterance; and (4) whether the conduct unreasonably

    interferes with the employee’s job performance.” Mendoza, 195 F.3d at 1246. “[In

    hostile environment cases] [t]he courts should examine the conduct in context, not as

    isolated acts, and determine under the totality of the circumstances whether the

    harassing conduct is sufficiently severe or pervasive....” Id. (citations omitted).

          As previously set forth, Britton’s alleged harassing conduct spanned

    approximately one month (July - August 2004) and consisted of: (1) Britton’s comment

    to either Smith or Raychael Harkey at the movies “Damn, you clean up good;” (2)

    Britton’s comment that he would “like to eat those oranges off [Smith’s] body;” (3)

    Britton’s action of pulling Smith close to him by her belt loops at the copy machine; (4)


                                              -14-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 15 of 28 PageID 540




    Britton’s attempt to hug and kiss Smith in the Ruby Tuesday parking lot; and (5)

    Britton’s comment to Smith “I like your new position.”5

           To determine if this conduct is of the ilk of cases that meet the severe or

    pervasive standard, it is instructive to survey Eleventh Circuit and other cases falling

    on both sides of the proverbial line. Compare Gupta, 212 F.3d at 584-586 (trial court

    should have granted judgment as a matter of law to defendant because the following

    alleged conduct by a male department coordinator at a university (Rhodd) directed

    toward a female associate professor (Gupta) over a six or seven month period was

    not sufficiently severe or pervasive from an objective view: (1) flirtatious comments

    such as “[you are] looking very beautiful;” (2) frequent calls to her house at night

    asking personal questions such as “Are you in bed yet?,” “I was wondering how you

    were doing?,” and “Are you talking to your boyfriend?;” (3) one incident when Gupta

    entered Rhodd’s office when he was expecting her and she found him sitting in his


       5
           Smith raises one other incident in her response claiming that it contributed to
    the hostile work environment Britton created. However, it is of little or no import to the
    analysis. It occurred some time after Smith and Harkey attended the movie with
    Britton’s team. Smith took a vacation day and went to Joe’s Crab Shack with Harkey.
    On their way there, Britton called to ask what she was doing. Smith told him that she
    and Harkey were going to the restaurant and Britton responded that he may meet
    them there after he finished some chores. Smith told him she was unsure how long
    they would be there (trying to dissuade him from meeting them). Britton arrived at the
    restaurant and had a couple of drinks with Smith and Harkey. He apparently seemed
    agitated that Smith had invited someone else to the table to join them, but never said
    anything about it. He did not make any inappropriate comments and left when Smith
    and Harkey left. (Harkey Dep., pp. 50-54; Smith Dep., pp. 305-307). While Britton
    inviting himself to have lunch with Smith and Harkey was probably annoying to them,
    it does not contribute to any sexually harassing hostile work environment. See Gupta,
    212 F.3d at 585.

                                              -15-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 16 of 28 PageID 541




    chair with his dress shirt off (but wearing an undershirt) and he “unbuckled his belt

    and pulled down his zipper and started tucking his shirt in;” (4) one incident where

    Rhodd placed his hand on Gupta’s inner thigh; and (5) one incident where Rhodd

    lifted Gupta’s dress about four inches, felt the hem and said “What kind of material is

    that?”), Mendoza, 195 F.3d at 1247-1253 (finding that over an eleven month period,

    supervisor’s “constant” following of employee and staring in a “very obvious fashion,”

    two instances of making a sniffing sound while looking at the employee’s groin area

    and another instance of sniffing without looking at the groin area, one incident of

    rubbing up against the employee’s hip while touching her shoulder and smiling, and

    one incident where the supervisor made the comment that he was “getting fired up

    too” when the employee came into his office to exclaim that she was only there to

    work (and not to be harassed), fell well short of conduct that would be deemed

    sufficiently severe or pervasive to alter conditions of employment), Hockman v.

    Westward Comms., LLC, 407 F.3d 317, 328-29 (5th Cir. 2004) (actions of a co-worker

    toward plaintiff over a year and a half period were not sufficiently severe or pervasive

    to satisfy the objective standard: (1) commenting to plaintiff about a co-worker’s

    behind and body; (2) once slapping plaintiff on the behind with a newspaper; (3)

    brushing up against plaintiff’s breasts and behind while passing her; (4) one incident

    of holding her cheeks and trying to kiss her; (5) asking plaintiff to come to the office

    early so that they could be alone; and (6) one incident of standing in the doorway to

    the bathroom while plaintiff was washing her hands), Quinn v. Green Tree Credit


                                             -16-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 17 of 28 PageID 542




    Corp., 159 F.3d 759, 768 (2d Cir. 1998) (summary judgment affirmed for employer

    where supervisor told plaintiff she had been “voted the ‘sleekest ass’ in the office” and

    on another occasion “deliberately touched [her] breasts with some papers that he was

    holding in his hand”), and Weiss v. Coca-Cola Bottling Co. of Chicago, 990 F.2d 333,

    337 (7th Cir. 1993) (plaintiff’s claims that supervisor repeatedly told plaintiff how

    beautiful she was, asked her out on dates, then when rebuffed told plaintiff she was

    a “dumb blonde” when she made mistakes counting inventory, tried to kiss her at a

    bar as well as two other times, placed “I love you” signs in plaintiff’s work area and

    touched her shoulder at least six times, were insufficient to establish actionable

    sexual harassment)6, with Hulsey, 367 F.3d at 1247-1249 (employee of fast food

    restaurant presented enough evidence for a jury to conclude that the following

    conduct of her male supervisor over a two to three week period was objectively

    severe or pervasive: (1) multiple direct and indirect proposals for sex; (2) repeated

    attempts to touch her breasts, place his hands down her pants or pull off her pants;

    (3) following her into the bathroom; and (4) enlisting help from others while he

    attempted to grope her), Johnson v. Booker T. Washington Broadcasting Serv., Inc.,

    234 F.3d 501, 506-07, 509 (11th Cir. 2000) (radio co-host who also served as



      6
          Plaintiff says Seventh Circuit precedent is not persuasive in the Eleventh Circuit
    in sexual harassment cases; however, the Eleventh Circuit has previously cited with
    approval Seventh Circuit precedent on the “severe or pervasive” issue. See Gupta,
    212 F.3d at 585 (citing Minor v. Ivy Tech State College, 174 F.3d 855, 858 (7th Cir.
    1999)); Mendoza, 195 F.3d at 1246-47 (citing Bakersville v. Culligan Int’l Co., 50 F.3d
    428, 430 (7th Cir. 1995), and Weiss, 990 F.2d at 337).

                                              -17-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 18 of 28 PageID 543




    plaintiff’s supervisor engaged in conduct that was sufficiently severe or pervasive to

    fall within objective sexual harassment when in a four month period he, among other

    things, repeatedly told plaintiff she had a sexy voice, called out plaintiff’s name and

    pulled his pants up in an obscene manner so plaintiff could see the imprint of his

    private parts, repeatedly attempted to massage plaintiff’s shoulders against her

    wishes, stuck his tongue out in an obscene manner, rubbed his “body parts” against

    plaintiff and commented about sex to plaintiff and asked her about her sex life), Dees

    v. Johnson Controls World Serv., Inc., 168 F.3d 417, 418, 422 n. 12 (11th Cir. 1999)

    (actions of Fire Chief and Assistant Chief and two other supervisory personnel toward

    plaintiff on a daily basis over about a three year period including sexually explicit

    jokes, comments about her body, requests to sit on their laps - and on one occasion

    when plaintiff refused, the Assistant Chief picking her up and squeezing her so hard

    she urinated in her pants, one occasion where one of the supervisors ground his groin

    into plaintiff’s buttocks while stating “look at that sexy mama, I could just eat you in

    that skirt,” multiple propositions for sex and repeated incidents of grabbing and

    slapping plaintiff’s buttocks and leg, were sufficiently severe or pervasive), Splunge

    v. Shoney’s, Inc., 97 F.3d 488, 490 (11th Cir. 1996) (pervasive hostile environment

    existed where four managers of restaurant “grabbed Plaintiffs, commented

    extensively on their physical attributes, showed them pornographic photos and

    videotapes, offered them money for sex, favored other employees who had affairs

    with them, [and] speculated as to the plaintiffs’ sexual prowess...”), and Schiano v.


                                             -18-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 19 of 28 PageID 544




    Quality Payroll Sys., Inc., 445 F.3d 597, 601-03,608 (2d Cir. 2006) (reversing district

    court’s grant of summary judgment and holding a reasonable jury could conclude that

    vice president of company’s actions toward employee over a five month period of

    repeatedly telling her that if she wanted a raise she was “sleeping with the wrong

    employee,” at an office party in the presence of other employees placing his hand on

    employee’s upper thigh and taking a picture of himself doing it, asking if the employee

    would go with him to his hotel room after the party, and, on several occasions,

    approaching plaintiff from the back while she was working and placing his hands on

    her back, neck and shoulders, was objectively severe or pervasive).

          When considering the totality of the circumstances here, the Court deems that

    this case falls more in line with the Eleventh Circuit’s decisions in Gupta and Mendoza

    rather than Hulsey, Johnson, Dees and Splunge. The four primary incidents were

    boorish, inappropriate and, if proven, potentially actionable against Britton individually;

    however, they were not sufficiently severe or pervasive to be actionable against AOL

    under prevailing precedent. While it is not the Court’s intent to condone or trivialize

    these incidents, the Court must take an objective view as to whether these acts cross

    the line into the realm of actionable sexual harassment against AOL pursuant to the

    Eleventh Circuit’s articulated standards. My judgment is that these incidents, viewed

    in toto, do not cross that line and that there is no factual issue for a jury to decide.




                                               -19-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 20 of 28 PageID 545




                 2.    Faragher/Ellerth affirmative defense

          Even assuming arguendo that Smith has created a material issue of fact on her

    sexual harassment claim, AOL may also avail itself of the affirmative defense set forth

    in Faragher v. City of Boca Raton, 524 U.S. 775, 805-807 (1998) and Burlington

    Industries, Inc. v. Ellerth, 524 U.S. 742, 764 (1998). “The [affirmative] defense

    comprises two necessary elements: (a) that the employer exercised reasonable care

    to prevent and correct promptly any sexually harassing behavior, and (b) that the

    plaintiff employee unreasonably failed to take advantage of any preventive or

    corrective opportunities provided by the employer or to avoid harm otherwise.”

    Faragher, 524 U.S. at 807; Ellerth, 524 U.S. at 765. “No affirmative defense is

    available, however, when the supervisor’s harassment culminates in a tangible

    employment action, such as discharge, demotion, or undesirable reassignment.” Id.

          Thus, whether a tangible adverse employment action occurred is the threshold

    issue as to whether the Faragher/Ellerth defense is even available. Smith claims she

    was constructively discharged when AOL offered her five alternatives: (1) working

    from 10:00 a.m. to 7:00 p.m. (Monday - Friday) on Ty Boler’s team; (2) working 2:00

    p.m. to 11:00 p.m. (Saturday - Wednesday) on Paul Brady’s team; (3) working 12:00

    p.m. to 9:00 p.m. (Monday - Friday) on Stacia Smith’s team; (4) keeping her current

    schedule on Chris Britton’s team until the upcoming shift bid; or (5) keeping her same

    hours, pay and benefits working as a consultant (rather than a CSS) on another team.

    Smith testified that she ultimately reported to work the following Monday and tendered


                                             -20-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 21 of 28 PageID 546




    her resignation because none of those options were “acceptable,” and that she was

    constructively discharged.

          “[T]o establish ‘constructive discharge,’ the plaintiff must ... show that the

    abusive working environment became so intolerable that her resignation qualified as

    a fitting response. ...[The Faragher/Ellerth] affirmative defense will not be available to

    the employer ... if the plaintiff quits in reasonable response to an employer-sanctioned

    adverse action officially changing her employment status or situation, for example, a

    humiliating demotion, extreme cut in pay, or transfer to a position in which she would

    face unbearable working conditions.” Pennsylvania State Police v. Suders, 542 U.S.

    129, 134 (2004).

          The Eleventh Circuit recently addressed a situation similar to that at issue here.

    In Baldwin v. Blue Cross/Blue Shield of Ala., 480 F.3d 1287 (11th Cir. 2007), the

    employer offered to transfer an employee who claimed to have suffered workplace

    harassment that the employer was unable to corroborate. The Court held on the

    issue of constructive discharge that “[a]n offer to transfer an employee ... is not an

    employment action; it is merely an offer. Providing an employee with a choice about

    where she works does not change the terms or conditions of employment.” Baldwin,

    480 F.3d at 1300. Baldwin involved multiple offers to transfer the employee to

    another company location keeping the same job, pay and benefits; this case involves

    the option to transfer to other shifts on another team with the same pay and benefits.

    The undersigned sees no meaningful distinction between the two situations. If Smith


                                              -21-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 22 of 28 PageID 547




    could establish on these facts that she suffered a constructive discharge after merely

    being presented with these options, this would set an exceedingly low bar for adverse

    employment actions, one that is not endorsed by controlling precedent. Thus, as a

    matter of law, Smith suffered no tangible adverse employment action.7

           Further, AOL exercised reasonable care to prevent and correct promptly any

    sexually harassing behavior. First, AOL maintains a sexual harassment policy which

    provides alternative avenues for reporting should an employee be harassed. Smith

    admits that upon starting her employment with AOL she received a copy of this policy

    and understood the reporting alternatives. (Smith Dep., pp. 67-69, Ex. 6; Conway

    Dep., Ex. 1). Second, the same day that Human Resources Director Jenna Svela

    learned of Smith’s complaints concerning Britton, she interviewed both Smith and

    Britton and determined that, because Smith could not corroborate any of her claims

    and Britton denied them, nothing other than a verbal warning to Britton was



       7
            That Smith’s work schedule was not guaranteed to remain the same because
    of the “shift bid” process at AOL, which occurs every six months, lends further support
    to this finding. The next shift bid after Smith’s August 2004 resignation was set for
    one month later (September 2004). The new shifts were to take effect in October
    2004. Because Smith was not one of the top performing CSSs, it was certainly not
    a foregone conclusion that she would keep her same work hours. (Doc. 37-3,
    Christopher Carr Aff.; Doc. 37-9, Jeremy Moore Aff.). Smith even admitted that when
    she began her employment at AOL, she filled out a form acknowledging that AOL was
    a 24 hour per day, 7 day per week call center and that she would be available to work
    “evenings, weekends, and holidays as needed.” (Smith Dep., pp. 59-60). Smith also
    admitted that upon hire she was aware of the shift bid process, that it would occur
    every six months, and that had her shift changed because of the shift bid process she
    would have made the necessary adjustments to account for child care concerns.
    (Smith Dep., pp. 63-65).

                                             -22-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 23 of 28 PageID 548




    appropriate.8

              Plaintiff assails Svela’s investigation because it took a maximum of three hours

    and she did not interview Self (the Ruby Tuesday waiter). In Baldwin, the Eleventh

    Circuit articulated the standard on this very issue: “[a]ll that is required of an

    investigation is reasonableness in all of the circumstances, and the permissible

    circumstances may include conducting the inquiry informally in a manner that will not

    unnecessarily disrupt the company’s business, and in an effort to arrive at a fair

    estimate of truth.” 480 F.3d at 1304. Even viewing the facts in the light most

    favorable to Smith, the Court finds Svela’s investigation reasonable as a matter of

    law.9 Svela acted promptly and individually interviewed both Smith and Britton and,

    in essence, was forced to make a determination entirely based on a “he said/ she

    said” situation. Even had Svela interviewed Self, Self’s testimony shows that the most

    he could have potentially testified about was what Smith said to him upon arriving at

    the restaurant and that he thinks he may have seen Britton and Smith hug as they

    departed the parking lot.


      8
          The verbal warning to Britton was that if Svela heard any additional complaints
    about him, he would be reprimanded further, up to and including termination.
          9
          In making this determination, the Court is guided by the Eleventh Circuit’s
    admonition in Baldwin that “[t]o second guess investigations on grounds like [those
    presented] would put us in the business of supervising internal investigations
    conducted by company officials into sexual harassment complaints. We already have
    enough to do, and our role under the Faragher and Ellerth decisions does not include
    micro managing internal investigations. Instead, we look only to the overall
    reasonableness of the investigation under the circumstances....” 480 F.3d at 1304-
    1305.

                                                -23-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 24 of 28 PageID 549




           Even assuming arguendo some deficiencies in AOL’s investigation, in Baldwin,

    the Eleventh Circuit held that “even if the process in which an employer arrives at a

    remedy in the case of alleged sexual harassment is somehow defective, the defense

    is still available if the remedial result is adequate.” Baldwin, 480 F.3d at 1305 (citing

    Walton, 347 F.3d at 1288). Here, the Court views the remedial result as reasonable.

    After being unable to verify Smith’s claims, Svela told Britton that if there were any

    more complaints about him, he would be subject to formal discipline up to and

    including termination. See Baldwin, 480 F.3d at 1306 (“[b]ecause warning the

    harasser and counseling him ordinarily is enough where the employer is able to

    substantiate the allegations, it certainly follows that the same remedy is enough when

    it is not able to do so”). While there was perhaps no formal warning documented in

    Britton’ personnel file, Svela communicated to Britton that if there was even a further

    complaint, it could result in his termination. More importantly, AOL gave Smith four

    reasonable options (five, if you include continuing to work on Britton’s team for one

    more month until shift bids) to address Smith’s concerns about working with Britton.

           The Court further finds that Smith unreasonably failed to take advantage of the

    AOL sexual harassment policy’s preventive and corrective opportunities.10 The Court


      10
           Smith testified that Britton had consistently discouraged her from ever going to
    Human Resources about any matter because it could hurt her career. Moreover, it
    is understandable that Smith preferred not to “make waves” about Britton’s conduct.
    However, this is the difficult choice that an employee faces if the employee believes
    he or she is being harassed in the workplace. “While we have recognized that filing
    a sexual harassment complaint may be uncomfortable, scary or both, we have also
    explained that, the problem of workplace discrimination ... cannot be [corrected]

                                              -24-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 25 of 28 PageID 550




    agrees with AOL that even though Britton’s alleged acts occurred over a short period

    of time, had Smith immediately reported the comment about the oranges or the

    alleged battery at the copy machine, the remaining incidents could have been

    avoided.11

            Thus, even if the Court were to find Britton’s alleged actions constituted severe

    or pervasive harassment that altered Smith’s working conditions, AOL, as a matter of

    law, is entitled to the benefit of the Faragher/Ellerth defense to defeat vicarious

    liability. Summary judgment is due to be granted to AOL on Smith’s hostile work

    environment claim.

            B.    Retaliation

            In the motion for summary judgment, AOL addresses a claim for retaliation to

    the extent plaintiff alleges such a claim in the Amended Complaint (Doc. 20) based

    on the assertions that AOL constructively discharged Smith. In response, Smith

    indeed claims that she asserts a retaliation claim in Count I of the Amended

    Complaint. The Court assumes arguendo that Smith states such a claim in Count I




    without the cooperation of the victims. The Faragher and Ellerth decisions present
    employees who are victims of harassment with a hard choice: assist in the prevention
    of harassment by promptly reporting it to the employer, or lose the opportunity to
    successfully prosecute a Title VII claim based on the harassment.” Baldwin, 480 F.3d
    at 1307 (internal citations and quotations omitted).
       11
          Interestingly, once Smith’s complaint was brought to Svela’s attention and
    Svela interviewed Smith, Smith did not mention the alleged copy machine incident
    (which appears to have been the most egregious).

                                               -25-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 26 of 28 PageID 551




    and addresses the retaliation claim on the merits. To establish a retaliation claim, a

    plaintiff must show that: (1) she engaged in statutorily protected activity; (2) she

    suffered an adverse employment action; and (3) there is a causal relationship

    between the two events. Johnson, 234 F.3d at 507 (citation omitted). For the

    reasons previously discussed, Smith did not suffer a tangible adverse employment

    action; thus, her retaliation claim fails.

           C.    Negligent Hiring, Retention and Supervision (Count III)

           AOL seeks summary judgment on Smith’s claim that AOL negligently retained

    or supervised Britton. Under Florida law, “negligent supervision and retention occurs

    when during the course of employment, the employer becomes aware or should have

    become aware of problems with an employee that indicates his unfitness and the

    employer fails to take further action such as investigation, discharge, or

    reassignment.” Martinez v. Pavex Corp., 422 F. Supp.2d 1284, 1298 (M.D. Fla. 2006)

    (citing Watson v. City of Hialeah, 552 So. 2d 1146, 1148 (Fla. 3d DCA 1989)). A

    claim for negligent training, supervision and retention “must be based on an injury

    resulting from a tort which is recognized under common law.” Scelta v. Delicatessen

    Support Services, Inc., 57 F. Supp. 2d 1327, 1348 (M.D. Fla. 1999). Florida law does

    not recognize a common law claim of sexual harassment as an independent tort. See

    id.; Castleberry v. Edward M. Chadbourne, Inc., 810 So. 2d 1028, 1030 (Fla. 1st DCA

    2002).

           Here, Smith’s only claim that is an actionable tort under Florida law is Britton’s

                                                 -26-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 27 of 28 PageID 552




    alleged battery (Count II). AOL is indeed correct that the only actions AOL could have

    conceivably known about is Britton’s propensity to ask female employees on dates or

    make comments about their appearance. These acts are entirely different than a

    propensity to batter others. Smith stretches the contours of Britton’s prior acts in

    attempting to suggest that AOL should have known about Britton’s potential for

    nefarious and intentionally tortious conduct. However, on any view of the record,

    there is simply no evidence of Britton’s propensity to batter others. See Martinez, 422

    F. Supp. 2d at 1298-99 (defendant employer’s actual or constructive knowledge of

    employee’s use of racial slurs is irrelevant and insufficient to put defendant on notice

    concerning the employee’s propensity to assault or batter others). Thus, summary

    judgment is due to be granted in favor of AOL on Count III in the Amended Complaint.

          D.     Smith’s Remaining Battery Claim (Count II)

          As requested by plaintiff at oral argument and because the parties have fully

    developed this case for trial in this Court, the Court will exercise its discretion to

    maintain supplemental jurisdiction over plaintiff’s battery claim against Britton.

    IV.   CONCLUSION

          Defendant America Online, Inc. is entitled to summary judgment on Counts I

    and III in Plaintiff Katherine Smith’s Amended Complaint. Accordingly, it is hereby

    ORDERED AND ADJUDGED:

          1.     Defendant America Online, Inc.’s Motion for Summary Judgment (Doc.



                                             -27-
Case 3:05-cv-01253-TJC-HTS Document 67 Filed 05/25/07 Page 28 of 28 PageID 553




    36) is GRANTED.

              2.    Defendant America Online, Inc.’s Motion to Strike Portions of Plaintiff’s

    Response to America Online’s Motion for Summary Judgment (Doc. 61) is MOOT.

              3.    By June 14, 2007, Plaintiff, Katherine Smith, must inform the Court

    whether she seeks to have the Court enter a Rule 54(b) Judgment so that she can

    immediately pursue an appeal against AOL (with the claim against Britton abated until

    the appeal is resolved), or whether she intends to proceed now to trial on the battery

    claim (Count II) against Chris Britton (leaving any appeal of the AOL ruling until after

    the trial against Britton). After plaintiff so informs the Court, the Court will enter an

    appropriate Order or Judgment.12




              DONE AND ORDERED at Jacksonville, Florida this 25th day of May, 2007.




    t.
    copies: counsel of record




         12
              If plaintiffs seek a Rule 54(b) certification, she must file a motion so requesting.

                                                 -28-
